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                                  Nebraska Supreme Court A dvance Sheets
                                          296 Nebraska R eports
                                                   STATE v. ARTIS
                                                 Cite as 296 Neb. 172



                                        State of Nebraska, appellee, v.
                                          Tareik Q. A rtis, appellant.
                                                   ___ N.W.2d ___

                                         Filed March 24, 2017.    No. S-16-464.

                1.	 Sentences: Appeal and Error. An appellate court will not disturb a sen-
                     tence imposed within the statutory limits absent an abuse of discretion
                     by the trial court.
                2.	 Statutes: Appeal and Error. The interpretation of a statute is a question
                     of law.
                3.	 Judgments: Appeal and Error. When reviewing a question of law,
                     an appellate court reaches a conclusion independent of the lower
                     court’s ruling.
                4.	 Sentences. When imposing a sentence, the sentencing judge should
                     consider the defendant’s (1) age, (2) mentality, (3) education and expe-
                     rience, (4) social and cultural background, (5) past criminal record or
                     record of law-abiding conduct, and (6) motivation for the offense, as
                     well as (7) the nature of the offense and (8) the violence involved in the
                     commission of the offense. The sentencing court is not limited to any
                     mathematically applied set of factors.
                 5.	 ____. The appropriateness of a sentence is necessarily a subjective judg-
                     ment and includes the sentencing judge’s observation of the defendant’s
                     demeanor and attitude and all the facts and circumstances surrounding
                     the defendant’s life.
                 6.	 ____. It is within the discretion of the trial court to impose consecutive
                     rather than concurrent sentences for separate crimes. This is true even
                     when the crimes arise out of the same incident.
                7.	 Sentences: Appeal and Error. While an appellate court typically
                     reviews criminal sentences that are within statutory limits for abuse of
                     discretion, the appellate court always reserves the right to note plain
                     error which was not complained of at trial or on appeal.
                8.	 Appeal and Error: Words and Phrases. Plain error is error of such a
                     nature that to leave it uncorrected would result in damage to the integ-
                     rity, reputation, or fairness of the judicial process.
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                                 STATE v. ARTIS
                               Cite as 296 Neb. 172
 9.	 Sentences. A determinate sentence is imposed when the defendant is
     sentenced to a single term of years.
10.	 ____. With a determinate sentence, the court does not provide a mini-
     mum term; the minimum term is considered to be the minimum term
     provided by law.
11.	 ____. When imposing an indeterminate sentence, a sentencing court
     ordinarily articulates either a minimum term and maximum term or a
     range of time for which a defendant is to be incarcerated.
12.	 ____. In Nebraska, the fact that the minimum term and maximum term
     of a sentence are the same does not affect the sentence’s status as an
     indeterminate sentence.

  Appeal from the District Court for Lancaster County: Lori
A. M aret, Judge. Affirmed.
      Robert Wm. Chapin, Jr., for appellant.
   Douglas J. Peterson, Attorney General, and Sarah E. Marfisi
for appellee.
   Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy,
K elch, and Funke, JJ.
      K elch, J.
                    I. NATURE OF CASE
   Tareik Q. Artis was sentenced to not less than 2 years nor
more than 2 years of imprisonment for possession of a con-
trolled substance, a Class IV felony, and to 15 to 20 years’
imprisonment for possession of a stolen firearm, a Class IIA
felony. These sentences were ordered to be served consecu-
tively. From these sentences, Artis appeals, alleging that they
are excessive and that they should have been imposed to
run concurrently.
   While Artis’ appeal was pending, a legislative bill1 was
enacted, which, among other things, amended Neb. Rev.
Stat. § 29-2204.02 (Reissue 2016) to provide that “the court
shall impose an indeterminate sentence” for Class IV felonies

 1	
      2016 Neb. Laws, L.B. 1094 (effective Apr. 20, 2016).
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           Nebraska Supreme Court A dvance Sheets
                   296 Nebraska R eports
                           STATE v. ARTIS
                         Cite as 296 Neb. 172
imposed consecutively or concurrently with a sentence for a
Class IIA felony “in accordance with the process set forth in
section 29-2204.”
   In light of the amendment to § 29-2204.02, this court must
determine whether Artis’ sentence of not less than 2 years nor
more than 2 years of imprisonment constitutes plain error.
                             II. FACTS
                          1. Background
   On September 22, 2015, Artis was wanted for fleeing to
avoid a traffic citation. In pursuit of Artis, a Lincoln police
officer was patrolling by a residence that Artis was known to
frequent. While the officer checked the residence, he observed
a person driving away in a vehicle. As the vehicle passed the
officer, the officer smelled marijuana and initiated a traffic
stop. Artis was a passenger in the back seat of the vehicle.
   The occupants were removed from the vehicle one at a time,
with Artis being the last person to exit. Artis fled on foot, and a
chase ensued. According to Artis’ statement in the presentenc-
ing report, Artis had a gun and knew the officer had seen it.
Artis then ran for a few blocks before he was surrounded by
law enforcement. Artis kept running after officers told him to
stop. At the time, Artis had the gun in his hand. Officers shot
at Artis four times, hitting him three times.
   Prior to being transported to the hospital, articles of Artis’
clothing were removed by medical personnel and left at the
scene. Found near his clothing was a white plastic cylinder
containing 4.9 grams of cocaine. Also recovered at the scene
was a .45-caliber semiautomatic pistol with a fully loaded
magazine containing seven rounds, as well as two additional
magazines, each fully loaded with seven rounds. A firearm
“trace” revealed that the firearm had been stolen.
              2. Charges and Plea Agreement
   Artis was originally charged with three counts of posses-
sion of controlled substances. Count I was for cocaine, and
counts II and III were for oxycodone and alprazolam. Artis
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                                STATE v. ARTIS
                              Cite as 296 Neb. 172
was also charged with possession of a stolen firearm. Pursuant
to a plea agreement, Artis pled no contest to one count of pos-
session of a controlled substance (cocaine) and to possession
of a stolen firearm. This was done in exchange for the State’s
dismissing the other two charges.
   On April 11, 2016, Artis was sentenced to consecutive sen-
tences of not less than 2 years nor more than 2 years of impris-
onment for possession of a controlled substance and 15 to 20
years’ imprisonment for possession of a stolen firearm. From
these sentences, Artis timely appealed.
   On August 4, 2016, the State filed a motion for summary
affirmance, which the Nebraska Court of Appeals sustained
on September 6. On that same date, the State filed a motion to
withdraw its motion for summary affirmance and subsequently
filed a motion for rehearing. The basis for these motions was
the State’s belief that there may have been plain error in Artis’
sentence for possession of a controlled substance. In response,
the Court of Appeals vacated its prior order and sustained the
State’s motion for rehearing. Because the claim raised by the
State was thought to be an issue of first impression, we moved
the case to this court’s docket.2
               III. ASSIGNMENTS OF ERROR
   Artis assigns that the district court erred (1) by impos-
ing excessive sentences and (2) by not making his sentences
concurrent.
                 IV. STANDARD OF REVIEW
   [1] An appellate court will not disturb a sentence imposed
within the statutory limits absent an abuse of discretion by the
trial court.3

 2	
      See Neb. Rev. Stat. § 24-1106(3) (Reissue 2016).
 3	
      State v. Custer, 292 Neb. 88, 871 N.W.2d 243 (2015); State v. Cullen,
      292 Neb. 30, 870 N.W.2d 784 (2015); State v. Ortega, 290 Neb. 172, 859
      N.W.2d 305 (2015); State v. McGuire, 286 Neb. 494, 837 N.W.2d 767      (2013); State v. Dixon, 286 Neb. 334, 837 N.W.2d 496 (2013).
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                                 STATE v. ARTIS
                               Cite as 296 Neb. 172
  [2,3] The interpretation of a statute is a question of law.4
When reviewing a question of law, an appellate court reaches a
conclusion independent of the lower court’s ruling.5

                         V. ANALYSIS
   We first review Artis’ assigned errors before considering
the State’s contention that Artis’ sentence for his conviction of
possession of a controlled substance, a Class IV felony, consti-
tutes plain error.

                   1. A rtis’ Assigned Errors
   Artis assigns that the trial court erred in imposing exces-
sive sentences and erred in failing to make his sentences con-
current. We note that Artis does not argue that his sentences
exceed the statutory limits, but instead claims that the sen-
tences are excessive in light of his age and “minimal criminal
history.”6 He suggests that one concession the trial judge could
have made was to make Artis’ sentences run concurrently
rather than consecutively.
   [4-6] When imposing a sentence, the sentencing judge
should consider the defendant’s (1) age, (2) mentality, (3)
education and experience, (4) social and cultural background,
(5) past criminal record or record of law-abiding conduct, and
(6) motivation for the offense, as well as (7) the nature of the
offense and (8) the violence involved in the commission of
the offense. However, the sentencing court is not limited to
any mathematically applied set of factors.7 The appropriate-
ness of a sentence is necessarily a subjective judgment and
includes the sentencing judge’s observation of the defendant’s

 4	
      In re Interest of D.I., 281 Neb. 917, 799 N.W.2d 664 (2011); D &amp; S Realty
      v. Markel Ins. Co., 280 Neb. 567, 789 N.W.2d 1 (2010).
 5	
      State v. Sims, 277 Neb. 192, 761 N.W.2d 527 (2009); State v. Davis, 276
      Neb. 755, 757 N.W.2d 367 (2008).
 6	
      Brief for appellant at 8.
 7	
      State v. Oldson, 293 Neb. 718, 884 N.W.2d 10 (2016).
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                                 STATE v. ARTIS
                               Cite as 296 Neb. 172
demeanor and attitude and all the facts and circumstances sur-
rounding the defendant’s life.8 Additionally, it is within the
discretion of the trial court to impose consecutive rather than
concurrent sentences for separate crimes.9 This is true even
when the crimes arise out of the same incident.10
   When the sentencing court imposed Artis’ sentences and
made them consecutive, it was cognizant of Artis’ young
age, but was concerned about Artis’ criminal history, which
included two prior convictions for possession of a controlled
substance and narcotics investigations dating back to 2010.
The sentencing court also afforded significant weight to the
potential danger caused by Artis’ fleeing from police in a
public location while carrying a loaded firearm and two
loaded magazines. After reviewing the record, we conclude
that the district court did not abuse its discretion in imposing
Artis’ sentences.

                         2. Plain Error
   [7,8] While an appellate court typically reviews crimi-
nal sentences that are within statutory limits for abuse of
discretion, the appellate court always reserves the right to
note plain error which was not complained of at trial or on
appeal.11 Plain error is error of such a nature that to leave it
uncorrected would result in damage to the integrity, reputa-
tion, or fairness of the judicial process.12 For the purpose of
determining plain error, where the law at the time of trial was
settled and clearly contrary to the law at the time of appeal,

 8	
      Id.
 9	
      State v. Dixon, supra note 3.
10	
      See id.11	
      State v. Bartholomew, 258 Neb. 174, 602 N.W.2d 510 (1999).
12	
      State v. Scott, 284 Neb. 703, 824 N.W.2d 668 (2012); State v. Huff, 282
      Neb. 78, 802 N.W.2d 77 (2011); State v. Sellers, 279 Neb. 220, 777
      N.W.2d 779 (2010); State v. Mowell, 267 Neb. 83, 267 N.W.2d 389      (2003); State v. Greer, 257 Neb. 208, 596 N.W.2d 296 (1999).
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                        296 Nebraska R eports
                                STATE v. ARTIS
                              Cite as 296 Neb. 172
it is enough that an error be “plain” at the time of appellate
consideration.13
   The State submits that Artis’ sentence for his Class IV fel-
ony was proper at the time it was imposed. However, the State
asserts that due to the enactment of L.B. 1094, which went into
effect on April 20, 2016, during the pendency of Artis’ appeal,
Artis’ sentence may now constitute “plain error.”14 After the
enactment of L.B. 1094, § 29-2204.02(4) now provides, in
relevant part:
      For any sentence of imprisonment for a Class III, IIIA,
      or IV felony for an offense committed on or after August
      30, 2015, imposed consecutively or concurrently with
      . . . (b) a sentence of imprisonment for a Class I, IA,
      IB, IC, ID, II, or IIA felony, the court shall impose an
      indeterminate sentence within the applicable range in sec-
      tion 28-105 that does not include a period of post-release
      supervision, in accordance with the process set forth in
      section 29-2204.
   Although not enacted at the time Artis was sentenced, the
State asserts that this version of § 29-2204.02 should apply to
Artis’ sentence pursuant to the doctrine in State v. Randolph.15
However, even if § 29-2204.02 applied to Artis’ sentence, his
sentence would not constitute plain error, because the sentence
for his Class IV felony complies with the relevant statutes
under both L.B. 1094 and its predecessor, 2015 Neb. Laws,
L.B. 605.
   The State claims that there are three ways in which Artis’
sentence for his Class IV felony does not comply with the
L.B. 1094 version of § 29-2204.02. First, the State claims that
Artis’ sentence for his Class IV felony is a determinate sen-
tence, while the L.B. 1094 version of § 29-2204.02 requires

13	
      State v. Mata, 266 Neb. 668, 668 N.W.2d 448 (2003), abrogated on other
      grounds, State v. Rogers, 277 Neb. 37, 760 N.W.2d 35 (2009).
14	
      Brief for appellee at 8.
15	
      State v. Randolph, 186 Neb. 297, 183 N.W.2d 225 (1971).
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                                 STATE v. ARTIS
                               Cite as 296 Neb. 172
that Artis receive an indeterminate sentence. Second, the State
suggests the amended version of § 29-2204.02(4) requires
that the minimum term of Artis’ sentence for his Class IV
felony be less than the maximum term and that therefore,
Artis’ sentence does not comply. And, third, the State asserts
that postrelease supervision could be imputed to Artis under
the L.B. 605 version of the statutory scheme, which would be
noncompliant with the L.B. 1094 version. We address each of
these arguments in turn.
                       (a) Artis’ Sentence
                        Is Indeterminate
   [9-12] The State has mischaracterized Artis’ sentence of
“not less than 2 years, nor more than 2 years” as a determinate
sentence. A determinate sentence is imposed when the defend­
ant is sentenced to a single term of years, such as a sentence
of 2 years’ imprisonment.16 With a determinate sentence, the
court does not provide a minimum term; the minimum term is
considered to be the minimum term provided by law.17 Thus,
for a Class IV felony, which has a minimum punishment of no
imprisonment, the minimum term of a determinate sentence
would be 0 year’s imprisonment.18 In contrast, when impos-
ing an indeterminate sentence, a sentencing court ordinarily
articulates either a minimum term and maximum term or a
range of time for which a defendant is to be incarcerated.19
In Nebraska, the fact that the minimum term and maximum
term of a sentence are the same does not affect the sentence’s
status as an indeterminate sentence.20 Thus, we conclude that
Artis’ sentence for his Class IV felony is an indeterminate

16	
      See State v. White, 256 Neb. 536, 590 N.W.2d 863 (1999).
17	
      Id.18	
      Neb. Rev. Stat. § 28-105 (Reissue 2016); State v. White, supra note 16.
19	
      Id.20	
      See, State v. Marrs, 272 Neb. 573, 723 N.W.2d 499 (2006); State v.
      Urbano, 256 Neb. 194, 589 N.W.2d 144 (1999).
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                   296 Nebraska R eports
                          STATE v. ARTIS
                        Cite as 296 Neb. 172
sentence in which the minimum and maximum terms are
the same. Such sentence complies with L.B. 1094’s require-
ment that the court impose an indeterminate sentence for a
Class IV felony when that sentence is imposed consecutively
with a Class IIA felony, and we therefore find no plain error
in this regard.

                      (b) Term “Process” in
                         § 29-2204.02(4)
   The State also claims that the current versions of Neb. Rev.
Stat. § 29-2204(1) (Reissue 2016) and § 29-2204.02(4) require
that the minimum term be less than the maximum term for
Artis’ sentence for his Class IV felony. We disagree. Section
29-2204(1) states:
      Except when the defendant is found guilty of a Class IA
      felony, in imposing a sentence upon an offender for any
      class of felony other than a Class III, IIIA, or IV felony,
      the court shall fix the minimum and the maximum terms
      of the sentence to be served within the limits provided
      by law. The maximum term shall not be greater than the
      maximum limit provided by law, and:
         (a) The minimum term fixed by the court shall be any
      term of years less than the maximum term imposed by the
      court; or
         (b) The minimum term shall be the minimum limit
      provided by law.
(Emphasis supplied.)
   Although § 29-2204(1) expressly states that it does not
apply to sentences for Class IV felonies, the State argues
that § 29-2204.02(4) supersedes that exclusion, because
§ 29-2204.02(4) is more specific than § 29-2204(1). As
noted above, § 29-2204.02(4) provides that “the court shall
impose an indeterminate sentence” for Class IV felonies
imposed consecutively or concurrently with a sentence for a
Class IIA felony “in accordance with the process set forth in
section 29-2204.”
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                                  STATE v. ARTIS
                                Cite as 296 Neb. 172
   The State suggests that the phrase “process set forth in sec-
tion 29-2204” refers to the requirement in § 29-2204(1)(a) that
the minimum term of an indeterminate sentence be less than
the maximum term. However, § 29-2204.02(4) does not limit
the process to only § 29-2204(1)(a), but references § 29-2204
in general. Accordingly, in following the “process set forth in
section 29-2204,” a sentencing court should review all subsec-
tions of § 29-2204, not just specific phrases or subsections. In
reviewing § 29-2204, we note that subsection (1) specifically
excludes Class IV felonies, and we are required to give effect
to all parts of a statute and to avoid rejecting a word, clause,
or sentence as superfluous or meaningless.21 Accordingly, we
cannot accept the State’s interpretation, which would require
the court to disregard part of the first sentence in § 29-2204(1).
Because § 29-2204(1) excludes Class IV felonies, we conclude
that §§ 29-2204 and 29-2204.02(4) do not require that Artis’
sentence for his Class IV felony have a minimum term less
than the maximum term.
   Our interpretation is supported by the legislative history
of L.B. 1094, which is the bill that added § 24-2204.02(4).
During at least one floor debate and at the judicial hearing,
the bill’s introducers repeatedly indicated that L.B. 1094 was
not meant to make any substantive changes to the sentenc-
ing scheme established by L.B. 605.22 Instead, L.B. 1094 is
a “‘clean-up bill’” and was intended to eliminate some unin-
tended effects of L.B. 605.23 One of those unintended effects
was the possibility that a defendant who was sentenced con-
secutively or concurrently to multiple crimes would be subject

21	
      See Fisher v. PayFlex Systems USA, 285 Neb. 808, 829 N.W.2d 703      (2013).
22	
      Judiciary Committee Hearing, L.B. 1094, 104th Leg., 1st Sess. 47 (Feb.
      4, 2016) (remarks of legal counsel to Judiciary Committee); Floor Debate,
      L.B. 1094, 104th Leg., 1st Sess. 25 (Mar. 23, 2016) (remarks of Senator
      Les Seiler).
23	
      Introducer’s Statement of Intent, L.B. 1094, 104th Leg., 1st Sess. (Feb. 4,
      2016).
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                        296 Nebraska R eports
                                  STATE v. ARTIS
                                Cite as 296 Neb. 172
to both parole and postrelease supervision.24 According to the
Judiciary Committee Statement, § 29.2204.02 was amended
to prevent that situation and also to clarify that good time
should not apply to postrelease supervision.25 Nothing within
the legislative history suggests that § 29-2204.02 was meant
to change the duration of punishment for offenders being sen-
tenced to multiple crimes simultaneously.
   Moreover, § 29-2204.02(4) applies only to certain offenders
who are sentenced for multiple crimes. It would not limit the
minimum term of sentences for offenders who have committed
only one Class III, IIIA, or IV felony. Therefore, if the term
“process” referred to only § 29-2204(1)(a), then the statutory
scheme would allow, for example, an offender who committed
multiple crimes to receive a more beneficial sentence for his
or her Class IV felony than an offender who committed only
a Class IV felony. We cannot say that is what the Legislature
intended. Thus, § 29-2204.02(4) clearly refers to the entire
statute § 29-2204.
   As we read the statutes under L.B. 1094, there is nothing that
requires the minimum term of Artis’ sentence for his Class IV
felony to be less than the maximum term. Accordingly, Artis’
sentence appears to comply with L.B. 1094 in this respect.
                   (c) Postrelease Supervision
   The State also suggests that Artis’ sentence may constitute
plain error pursuant to the Randolph doctrine, because the ver-
sion of § 29-2204.02 as amended by L.B. 1094 requires that
Artis receive no period of postrelease supervision.26 Although
the district court did not order postrelease supervision, the
State is concerned that under the statutory scheme in effect at
the time of Artis’ sentencing, a period of 9 months’ postrelease
supervision could be imputed to him.

24	
      Committee Statement, L.B. 1094, 104th Leg., 1st Sess. 2, 5 (Feb. 4, 2016).
25	
      Id.
26	
      See State v. Randolph, supra note 15.
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                  296 Nebraska R eports
                         STATE v. ARTIS
                       Cite as 296 Neb. 172
   However, even under L.B. 605, Artis is not subject to
postrelease supervision. The L.B. 605 version of § 28-105(6)
states, in relevant part, “Any person who is sentenced to
imprisonment for a Class . . . IIA felony and sentenced con-
currently or consecutively to imprisonment for a Class . . . IV
felony shall not be subject to post-release supervision pursu-
ant to subsection (1) of this section.” Here, Artis was sen-
tenced to imprisonment for a Class IIA felony and sentenced
consecutively to a Class IV felony, and the district court did
not impose a period of postrelease supervision. Accordingly,
the sentencing order was compliant with both L.B. 605 and
L.B. 1094. Therefore, we find no plain error and affirm
his sentences.
                     VI. CONCLUSION
   For the foregoing reasons, the district court did not abuse
its discretion in imposing Artis’ sentences and the sentence
for his Class IV felony is not plainly erroneous. We there-
fore affirm.
                                                    A ffirmed.
